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'gl4. Upon information and belief, die consideration gained by Wilson was the relief of
not being responsible for the debts and liabilities attendant to the property or subject
to a deficiency judgment possible bankruptcy and ioss oi` credit ali for a property in
which Wilson never lived in and did not have sufficient income to maintain

l’5. Upon information and belief, the plaintiff, subsequent to the recording ot`the deed
_ for the prope.rty, changed his mind, perhaps because of an appreciating housing
' market, and decided to bring this complaint to retrieve the property
16. The property, however, upon information and belief, was transferred to Mr. Singh
for a valid consideration and is his. There is no basis to retract a valid deal simply
because the plaintiff and Ms. Johnson changed their minds and think they can get a
better deal in_the current real estate market
WHEREFORE, the respondent demands judgment dismissing the complaint, '
‘ reasonable attorney t`ees, costs and any and other relief this Court deems just and
proper.

Dated: February 19, 2019
Brooklyn, New York

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‘ al
Let)nar ill renner

Attorney for the Deiendants
26 Court Street, Suite 810
Brookiyn, NY 11242
718-576-3741

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UNITED STATES BANKRUPTCY COURT
FOR THE EASTERN DISTRICT OF NEW YORK

 

IN REI Civil Action No.:

JOHN WILSON, 1-18-01062

Debtor,

 

JOHN WILSON,

Plaintiff,

OUMROW ROY SINGH, SABRINA
B. SINGH, ASCB MANAGEMENT INC.
JOHN DOE and JANE DOE,

Defendants.

 

AFFIDAVITS IN OPPOSITION

Leonard Eli Bronner
Attorney for the Defendant
26 Court Street, Suite 810
Brooklyn, NY 11242
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